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   8                              UNITED STATES DISTRICT COURT
   9                             SOUTHERN DISTRICT OF CALIFORNIA
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  11 JAMES GROOMS, an individual;                  Case No. 09CV0489 IEG POR
     BRYCEMARIE PHELAN, an individual;
  12 KNUKLE, INC., a Colorado corporation,

  13               Plaintiffs,                     ORDER APPROVING
                                                   SETTLEMENT AGREEMENT
  14 vs.

  15 JOHN LEGGE, an individual; GWEN               [Doc. No. 80]
     LEGGE, an individual; KNUKLE, INC., a
  16 California corporation; ARTILLERY
     DISTRIBUTION, an unknown entity; SEAN
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     MYERS, an individual; DEVIN MERCADO,
  18 an individual; and DOES 1 through 50,
     inclusive,
  19                 Defendants.
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  21        On January 12, 2010, parties filed a “Joint Motion and Order for Entry of Judgment Upon

  22 Default of Settlement Agreement.” [Doc. No. 80]. GOOD CAUSE appearing, the Court hereby

  23 APPROVES the parties’ Settlement Agreement as follows:
            1.       On December 16, 2009, Plaintiffs and Defendants entered into a settlement
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     agreement including a mutual general release (“Settlement Agreement”) wherein Defendants
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     agreed in part to perform as follows:
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                                  ORDER APPROVING SETTLEMENT AGREEMENT
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                     a. Defendants agree to pay Plaintiffs the sum of $35,000.00 USD payable as
   1                    follows:
                             i. An initial $5,000 payment payable by wire transfer to Catalyst Law
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                                Group APC Client Trust Account no later than Monday December 21,
   3                            2009;
                            ii. A second $5,000 payment payable to Catalyst Law Group APC Client
   4                            Trust Account no later than January 21, 2010;
                           iii. Commencing on January 21, 2010 and continuing on the 21st day of each
   5                            month thereafter until paid in full, payment of the $25,000.00 USD
                                balance due to Catalyst Law Group APC Client Trust Account in 18
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                                equal monthly payments of one thousand three hundred and eighty eight
   7                            dollars and eighty nine cents ($1,388.89) plus two additional payments of
                                one thousand three hundred and eighty eight dollars and eighty nine cents
   8                            ($1,388.89) due and payable on the 19th and 20th months to satisfy
                                annual interest at the rate of seven and four tenth’s percent interest
   9                            (7.4%). If Defendants pay the entire outstanding balance due by August
  10                            21, 2010, Plaintiffs agree to waive the two $1,388.89 interest payments.
              2.     In the event of default in the terms of the Settlement Agreement, the Court may issue
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       a judgment in the amount of $50,000.00 minus any payments made toward the principle balance
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       due of $25,000.00 (excluding any inventory) as an offset (“Offsets”).
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              3.     If Defendants are in default in the terms of the Settlement Agreement, Plaintiffs or
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       his counsel, shall notify Defendants’ attorney, Rajiv Jain, Esq. of Jain Law Group, PC by telephone
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       and facsimile of such default. Defendants shall have five calendar days to cure such default (“Five
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       Day Cure Period”). If Defendants fail to completely cure such default by complete performance
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       within the Five Day Cure Period, Plaintiffs may immediately, without further notice to Defendants
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       or their counsel, enter judgment in the above-entitled Court against Defendants in the amount of
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       $50,000.00 minus any Offsets, on an ex parte basis.
  20          4.     All of the terms set forth in the Settlement Agreement are incorporated into the
  21 parties’ Joint Motion (“Stipulation”).

  22          5.     Defendants John Legge, Gwen Legge, Sean Myers, Devin Mercado, Knukle Inc., a
  23 California corporation, and Artillery Distribution waive any rights to a noticed motion hearing on

  24 the entry of a judgment pursuant to the Stipulation.

  25          6.     The Parties acknowledge that the Stipulation and the Settlement Agreement are in
  26 compliance with applicable Federal and California law pertaining to confession of judgment.

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   1         7.     Plaintiffs will file a motion to dismiss the Lawsuit with prejudice upon Defendants’

   2 signing of the Settlement Agreement, the Stipulation, and payment of the initial $5,000 payment.

   3 The parties to the Stipulation agreed that Plaintiffs may reopen this action if Defendants breach the
     terms of the Settlement Agreement. The Court reserves jurisdiction to set-aside any dismissal and
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     order the entry of judgment upon a showing of default by said Defendants in payments or any other
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     term of the Settlement Agreement, in the manner described therein and in the Stipulation.
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             IT IS SO ORDERED.
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       Dated: January 14, 2010                    __________________________________
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                                                  IRMA E. GONZALEZ, Chief Judge
  10                                              United States District Court

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                                  ORDER APPROVING SETTLEMENT AGREEMENT
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